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                          UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA
                           Criminal No. 19-103(2) (MJD/ECW)

United States of America,

                                  Plaintiff,

v.                                                 ORDER FOR APPOINTMENT
                                                   OF SUBSTITUTE COUNSEL
Relondo Devon Hall,

                                Defendant.


       The Court has determined that the defendant in the above matter is financially

unable to employ counsel and finds that it is in the interest of justice that substitute

counsel be assigned.

       IT IS HEREBY ORDERED that Bruce Rivers, Attorney ID 282698, is appointed

as counsel pursuant to 18 U.S.C. § 3006A.


Dated: October 23, 2019                        s/ Michael J. Davis
                                               Honorable Michael J. Davis
                                               United States District Court
